 1     Michael J. Gearin, WSBA # 20982                         Honorable Timothy W. Dore
       Brian T. Peterson, WSBA # 42088                         Chapter 7
 2     Ruby A. Nagamine, WSBA #55620                           Hearing Location: Seattle, Rm. 8106
       K&L GATES LLP                                           Hearing Date: March 8, 2024
 3     925 Fourth Avenue, Suite 2900                           Hearing Time: 9:30 a.m.
       Seattle, WA 98104-1158                                  Response Date: March 1, 2024
 4     (206) 623-7580

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 7
                                         UNITED STATES BANKRUPTCY COURT
 8                                       WESTERN DISTRICT OF WASHINGTON
                                                    AT SEATTLE
 9
       In re:                                                 Case No. 23-10117-TWD
10
       WIRELESS ADVOCATES, LLC                                NOTICE OF HEARING CHAPTER 7
11                                                            TRUSTEE’S MOTION FOR
                                               Debtor.        AUTHORITY TO ABANDON AND
12                                                            DESTROY RECORDS AND APPROVE
                                                              PAYMENT OF DISPOSITION
13                                                            COSTS
14     TO:            WIRELESS ADVOCATES, LLC, LLC, Debtor;
       AND TO:        UNITED STATES TRUSTEE;
15
       AND TO:        SPECIAL NOTICE LIST;
16     AND TO:        PARTIES ENTITLED TO NOTICE UNDER CASE MANAGEMENT ORDER

17            PLEASE TAKE NOTICE that a hearing has been scheduled on March 8, 2024, at 9:30
       a.m. (PT) before the Honorable Timothy W. Dore, United States Bankruptcy Judge, in Courtroom
18     8106, 700 Stewart Street, Seattle, WA, 98101 on the Chapter 7 Trustee’s Motion for Authority to
19     Abandon and Destroy Records and Approve Payment of Disposition of Costs (the “Motion”).

20             By this motion, the Trustee seeks authority, pursuant to 11 U.S.C. § 554, to abandon and
       destroy hardcopy records stored at the Record Xpress of California LLC d/b/a Access (“Access”)
21     facility in SeaTac, Washington, and to pay for the costs of such destruction or disposition of the
       records of One Hundred and Fifty Thousand Dollars pursuant to a bid for destruction services from
22     Access. These records have no value to the estate because the vast majority of the records are more
23     than five years old, and the Trustee is unaware of any litigation or other estate matters for which the
       records could be relevant. The Trustee has investigated a number of options for disposition of these
24     records and the bid of Access is the most favorable option available to the estate.

25             PLEASE TAKE FURTHER NOTICE that copies of the Motion and related documents may
       be (1) reviewed and copied at the Clerk of the United States Bankruptcy Court, 700 Stewart Street,
26
                                                                                         K&L GATES LLP
                                                                                   925 FOURTH AVENUE, SUITE 2900
       NOTICE OF HEARING ON CHAPTER 7 TRUSTEE’S                                   SEATTLE, WASHINGTON 98104-1158
       MOTION FOR AUTHORITY TO ABANDON AND                                            TELEPHONE: (206) 623-7580
                                                                                       FACSIMILE: (206) 623-7022
       DESTROY RECORDS. - 1


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 1     Seattle, WA 98101 or (2) may be obtained by submitting a written request to Ms. Denise Lentz,
       Paralegal, K&L Gates, LLP, 925 Fourth Avenue, Suite 2900, Seattle, WA 98104-1158, Email:
 2     denise.lentz@klgates.com.
 3
              PLEASE TAKE FURTHER NOTICE THAT IF YOU OPPOSE the Motion, you must file
 4     your written objection NO LATER THAN March 1, 2024. Objections must be filed with the Court,
       700 Stewart Street, Seattle, WA, 98101, and a copy delivered to:
 5
                            Ruby Nagamine
 6                          K&L Gates, LLP
                            925 Fourth Avenue, Suite 2900
 7                          Seattle, Washington 90104

 8             PLEASE TAKE FURTHER NOTICE that in accordance with Local Bankruptcy Rule 9013-
       1(d)(7), failure to timely file and serve an objection to the Motion may be deemed by the Court an
 9     admission that any opposition to the Motion is without merit. Further, pursuant to Local Bankruptcy
       Rule 9013-1(e), failure to appear at the hearing on the Motion may be deemed by the Court to be an
10     admission that any opposition to the Motion is without merit. Further, pursuant to Local Bankruptcy
       Rule 9013-1(f), if no opposition to the Motion is timely filed and served, the Court may either (a)
11     grant the Motion by default at the hearing, or (2) grant the Motion prior to the hearing on the
       Trustee’s ex parte presentation of a proposed order accompanied by proof of service and a
12     declaration that no objection to the Motion was timely received.
13            Dated this 15th day of February, 2024.
14                                                        K&L GATES LLP
15
                                                          /s/ Ruby A. Nagamine
16                                                        Michael J. Gearin, WSBA # 20982
                                                          Brian T. Peterson, WSBA # 42088
17                                                        Ruby A. Nagamine, WSBA # 55620
                                                          K&L GATES LLP
18                                                        925 Fourth Avenue, Suite 2900
                                                          Seattle, WA 98104-1158
19                                                        Telephone: (206) 623-7580
                                                          Email: michael.gearin@klgates.com
20                                                                brian.peterson@klgates.com
                                                                  ruby.nagamine@klgates.com
21
                                                          Attorneys for Virginia Burdette, Chapter 7
22                                                        Trustee
23

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                                                                                      K&L GATES LLP
                                                                                925 FOURTH AVENUE, SUITE 2900
       NOTICE OF HEARING ON CHAPTER 7 TRUSTEE’S                                SEATTLE, WASHINGTON 98104-1158
       MOTION FOR AUTHORITY TO ABANDON AND                                         TELEPHONE: (206) 623-7580
                                                                                    FACSIMILE: (206) 623-7022
       DESTROY RECORDS. - 2


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 1                                      CERTIFICATE OF SERVICE

 2            The undersigned declares as follows:

 3            That she is a practice assistant in the law firm of K&L Gates LLP, and on February 15, 2024,
       she caused the foregoing document to be filed electronically through the CM/ECF system which
 4     caused Registered Participants to be served by electronic means, as fully reflected on the Notice of
       Electronic Filing.
 5
               I declare under penalty of perjury under the laws of the State of Washington and the United
 6     States that the foregoing is true and correct.

 7            Executed on the 15th day of February, 2024 at Seattle, Washington.

 8                                                         /s/ Denise A. Lentz
                                                           Denise A. Lentz
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                                                                                        K&L GATES LLP
                                                                                  925 FOURTH AVENUE, SUITE 2900
       NOTICE OF HEARING ON CHAPTER 7 TRUSTEE’S                                  SEATTLE, WASHINGTON 98104-1158
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                                                                                      FACSIMILE: (206) 623-7022
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